                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE                    Motion GRANTED.
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                                          )
       v.                                 )       No. 2:11-00002
                                          )       Judge Trauger
                                          )
TIFFANY BROOK NORRIS                      )



                      MOTION TO CANCEL STATUS HEARING

       Comes now the Defendant, Tiffany Norris, by and through counsel, and requests

that this Honorable Court cancel the status meeting set for April 25, 2014, at 12:30 pm. This

Court has previously ordered, and both parties have agreed, that Ms. Norris will be

released from the United States Marshal’s lockup at 12:30 pm on April 25, 2014. At that

time, Ms. Norris will meet with probation to finalize the details of her rehabilitation.

                                          Respectfully submitted,



                                          s/ Dumaka Shabazz
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